           CASE 0:20-cr-00251-DWF-ECW Doc. 1 Filed 11/04/20 Page 1 of 11



                            {JMTED STATES DISTRICT COURT
                                  Disfrict ofMinnesota
                                                                      (Aaa-a5l D.nFl -N
 TJNITED STATES OF AI\4ERICA,                        NDICTMBNT

                         Plaintitr,                  18 U.S.C. S 242
                                                     18 U.S.c. $ e8l(aXlXc)
           v.                                        18 U.s.c. $ 19sl(a)
                                                     21 U:S.C. $ 8a3(a)(3)
 TYRAInVIOND JINDRAb                                 2l U.S.c. $ 853(p)
                                                     28 U.s.c. $ 2a61(c)
                         Defendant.

fiIE   UNITED STATES GRANID JURY CHARGES TIIAT:


                                      INTRODUCTION

        l.      From at least September 2017 tbrough October 2019, the Defendant, Ty

Raymond JINDRA, abused his position as a Minneapolis police officer in order to obtain

and attempt to obtain controlled substances including methamphetamine, heroin,

oxycodone, and other drugs, for his own use by various means including but not limited to

deception, extortion, and conducting unconstitutional searches and seianres.

       2.       At all times material to this Indichnenf JINDRA was   a licensed peeice   officer

under the laws ofthe State of Minnesota and was employed as an officer ofthe Minneapolis

Police Deparhnent ('MPD'), a duly constituted police agency providing law enforcement

senrices   in Minneapolis, Minnesota. As a police offrcer, JINDRA was authorized by

Minnesota law to make arrests and conduct searches and seizures, including seizures             of
controlled substances.

                                                                             SCANhIE
                                                                              N(}v   04 2020
                                                                           U.S. DISTRTCTCOURT   MPls
          CASE 0:20-cr-00251-DWF-ECW Doc. 1 Filed 11/04/20 Page 2 of 11
United States v. T.v Raymond Jindra



     THE SCITEME TO OBTAIN CONTROLLED SI'BSTANCES THROUGH
                           DECEPTION

        3.       From at least September 2017 through at least October 20t9, JINDRA used

his position as a Minneapolis police ofiEcer to obtain controlled substances for his personal

use through misrepresentation, fraud, deception and subterfuge.

        4.       As used in this Indictnent, a'lconholled substance" is a drug that is listed on

federal drug schedules and regulated pursuant to the Controlled Substances AcL       2l U.S.C.

$ 801 et. seq. Each drug is scheduled based on its potential for abuse, the scope of its

acceptable rnedical usage, and other statutory factors. There are five schedules. Drugs with

the highest potential for abuse and no or very limited acceptable medical use are placed at

Schedules I and II, while drugs with relatively lesser potential for abuse and greater medical

usage are placed dccordingly at Schedules     III, fV,   and V.

        5.       It was part of the scheme that JINDRA would divert contolled substances

that he confiscated from lawful searches of persons and vehicles for his own pu{poses,

wouldnot log orplacethose confiscated contolled substances into evidencewiththe MPD,

and would not inform his parher or other officers on scene that he had confiscated the

controlled substances.

        6.       It was part of the scheme that JINDRA would divert contolled substances

that he otherwise legatly confiscated in the course of his job as a Minneapolis police officer

for his personal use, including controlled substances that were turned in by concenred

members      of the public, and would not log or place those confrolled        substances into

evidence or otherwise report them to the MPD.
           CASE 0:20-cr-00251-DWF-ECW Doc. 1 Filed 11/04/20 Page 3 of 11
United Sates v. TV Rarmond Jindra



        7.      It was also part of the scheme that JINDRA would confrive opportunities to

interact with or search a person, vehicle or rdsidence in a manner that was partially or fulty

concealed from his parher on scene so that he could recover controlled substances without

his partner's knowledge.

        8.      It was also part of the scheme that on some occasions, where JINDRA's

partner on scene was aware that contolled substances had been recovere4 JINDRA would

suneptitiously divert a portion of the contolled substances for his own use and then log

the remaining portion into evidence with the MPD to create the false impression that all    of

the recovered controlled substances were properly inventoried as evidence.

       9.       It was also part ofthe scheme that to divert controlled substances he lawfully

recovered for his own use, JINDRA would place the controlled substances into his gloved

hand, fold his latex glove over the drugs in order to surreptitiously encase and conceal

them, and then place the controlled substances in his personal duty bag or some other

location inside the squad car, separate from items that would be placed into evidence at

MPD at the end of his shift.

        10.     It was also part of the scheme that JINDRA.would conduct searches of

persons, vehicles and residences beyond the scope warranted under the circumstances in

order to attempt to recover controlled substances that JINDRA could then retain for

himself.

        11.    It was also part of the scheme that, at times, JINDRA would turn offhis

body-worn camerawhen he found, concealed or diverted controlled substances he lawfully

possessed in the course of his duties as a Minneapolis police officer.

                                               3
          CASE 0:20-cr-00251-DWF-ECW Doc. 1 Filed 11/04/20 Page 4 of 11
United States v. TY Raymond Jindra



                                          COIJNT 1
                        (Acquiring a Contolled Substance by Deception)

        12.       The Grand Jury adopts, realleges and incorporates by reference herein

paragraphs 2-11 above.

        13.       On or about September 7,2017, in the State and District of Minnesota the

defendant,

                                     TY RAYMOI\D JII\DRA,

knowingly and intentionally obtained Tramadol, a Schedule [V controlled substance, by

misrepresentation, fraud, deception and subterfuge, to wit: by failing to disclose to his

parfrrer that pills they recovered through the lawful search of a vehicle were Tramadol, a

Schedule     fV   contuolled substance; surreptitioTly diverting the       pills for his own   use;

submitting a false report to MPD that failed to mention discovery of the pills; and failing

to place the pills into evidence with the MPD, all in violation of Title 21, United States

Code, Section 8a3(aX3).

                                               COI]NT 2
                        (Acquiring   a'   Contolled Substance by Deception)

        14.       The Grand Jury adopts, realleges'and incorporates by reference herein

paragraphs 2-l 1 above.

        15,       On or about January 23,2019, in the State and District of Minnesota, the

defendant,

                                     TY RAYMOND JINDRA,

knowingly and intentionally obtained'heroin, a Schedule             I confrolled substance, and
methamphetamine,        a Schedule II contolled        substance,   by   misrepresentation, fraud,
          CASE 0:20-cr-00251-DWF-ECW Doc. 1 Filed 11/04/20 Page 5 of 11
United States v. TV Ravmond Jindra



deception and subterfuge, to wit: by failing to disclose to his parfirer or emergency medical

personnel on scene that he had recovered heroin and methamphetamine from S.H. during

a traffic stop involving a           suspected overdose; surreptitiously hiding   the controlled

substances inside his personal duty bag in the squad car; and failing to write a report or

place the contolled substances into evidence with the MPD, all in violation of Title 21,

United States Code, Section 843(aX3).

                                              couNT    3
                        (Acquiring a Controlled Substance by Deception)

        16.     The Grand Jury adopts, realleges and incorporates by reference herein

paragraphs    2-ll   above.

        17.     On or about May 6, 20L9, in the State and District of Minnesota, the

defendant,

                                      TY RAYMOND JINDRA,

knowingly and intentionally obtained methamphetamine, a Schedule                   II   controlled

substance, by misrepresentation, fraud, deception and subterfuge, to        wit    by failing to

disclose to his partrer.that he had recovered suspected metharnphetamine      duing a yehicle

search; gending his par0rer to do another task in order to conceal the methamphetanine;

deactivatinghis body-worn c3merawhilehe concealedthe methamphetamine; and failing

to write a report or place the methamphetamine into evidence with the MPD, all in violation

of Title 21, United States Code, Section 8a3(aX3).
               CASE 0:20-cr-00251-DWF-ECW Doc. 1 Filed 11/04/20 Page 6 of 11
     United States v. Ty RalmondJindra



                                                 couNT  4
                             (Acquiring a Contolled Substance by Deception)

             18.     The Grand Jury adopts, realleges and incorporates by reference herein

     paragraphs2-ll above.

             19.     On or about June 3, 2019, in the State and District of Minnesota the

     defendant,

                                         TY RAYMOI\D JINDRA,

     knowingly and intentionally obtained cocaine, a Schedule         I   contolled substdnce, and

.    lnethamphetamine,       a Schedule   il   confrolled substance, by misrepresentation, fraud,

     deception and subterfuge, to wit: by collecting the contolled substances from a concerned

r.   citizen under the guise that he would handle them in accordance with police procedures;

     diverting a portion of the substances for himself before placing a smaller amount into

     evidence with the MPD; and submitting a false report regarding his handling              of   the

     controlled substances, all in violation of Title 21, United States Code, Section 843(aX3).

                                                 couNT    5
                            (Acquiring a Conholled Substance by Deception)

             20.     The Grand J.ury adopts, realleges'and incorporates by reference herein

     paragraphs 2-11 above.

             21.     On or about July 24, 2019, in the State and District of Minnesota, the

     defendant,

                                         TY RAYMOIYD JINDRA,

.    f.oowingly and intentionally obtained orrycodone hydrochloride, a Schedule II controlled

     substance, by misrepresentation, fraud, deception and subterfuge, to    wil   by suneptitiously
          CASE 0:20-cr-00251-DWF-ECW Doc. 1 Filed 11/04/20 Page 7 of 11
United States v.   T.V   Raymond Jindra



separating a portion of oxycodone pills recovered during a          taffic   stop; concealing the

sepaxated    pills within a plastic glove and stashing them in his personal     gear bag;   placing

the remaining pills in an evidence bag to be logged into.evidence; misrepresenting to his

parfrrer what he had been dorng at the squad car; and submitting a false report claiming to

have placed alt of the recovered pills into evidence, all in violation of Title 21, United

States Code, Section 843(aX3).



                              (Acquiring u   a*ooffi*re       by Deception)

         22.        The Grand Jury adopts, realleges and incorporates by reference herein

paragraphs 2-11 above.

         23.        On or about August 23,2019, in the State and Disftict of Minnesota, the

defendant,

                                          TYRAYMOND JINDRA,

knowingly and intentionally obtained methamphetamine,                a   Schedule   tr confrolled
substance,     by        misrepresentation, fraud, deception and subterfuge,   to wit: by taking

methamphetamine his parfirer had recovered from a citizen during a traffic stop under the

gulse that he would handle it in accordance with MPD procedures; misleading his parher

as to representations he had made to the citizen about handing over any drugs in her

possession; deceiving his parhrer by stating that he would dispose of the metharnphetamine

when, in fact, he planned to retain it for his own use; and submitting a false report in which

he did not disclose to the MPD that methamphetamine had been recovered during the

encounter, all in violation of Title 21, United States Code, Section 843(a)(3).
          CASE 0:20-cr-00251-DWF-ECW Doc. 1 Filed 11/04/20 Page 8 of 11
United States v. I-V Raymond Jindra



                                            COUNT 7
                              @xtortiirn Under Color of Official Righ|

        24.         The Grand Jury adopts, realleges and incorporates paragraph 2, above, by

reference herein.

        25.         On or about January 23,2019, in the State and Disfrict of Minnesota" the

defendant,

                                      TY RAYMOND JII\DRA,

didknowingly obtain andattemptto obtainproperly by extortion, that is, JINDRA obtained

conholled substances not otherwise due to him, from an individual, S.H., with S.H.'s

consen! such consent having been induced under color of official right, and by doing so

attempted to and did obstnrct, delay, and affect commerce and the movement of,articles

and commoditi'es in commerce, as those terms are defined in      Title 18, United   States Code,

Section 1951(b), all in violation of Title 18, United States Code, Section 1951(a).

                                            COI'NT 8
                              (Extortion Under Color of bfficial Righ|

        26.         The Grand Jury adopts, realleges and incorporates paragraph 2, above,by

reference herein.
               .l

        27.         On or about August 23, 2019, in the Statd and District of Minnesota, the

defendant,

                                      TY RAYMOI\ID JINDRA,

did knowingly obtain and attempt to obtain properly by extortion, that is, JINDRA obtained

a confiolled substance, not otherwise due to him, from an individual, S.S., with S.S.'s

consent, such consent having been induced under color of official right, arid by doing so
          CASE 0:20-cr-00251-DWF-ECW Doc. 1 Filed 11/04/20 Page 9 of 11
United States v. TV Ravmond Jindra



attempted to and did obstuct, delay, and affect commerce and the movement of articles

and commodities in commerce, as those terms are defined in        Tifle 18, United States Code,

Section 1951(b), atl in violation of Tifle 18, United States Code, Section 1951(a).

                                          COTJNT 9
                           @eprivation of Rights Under Color of Law)

        28.     The Grand Jury adopts, realleges and incorporates paragraph 2, above, by

reference herein.

        29.     On or about July 5, 2019, in the State and District of Minnesot4 the

defendant,

                                     TY RAYMOND JII\DRA,

while acting under color of law, did willfully deprive R.B. of the right, secured and

protected    by the Constitution and the laws of the United          States,   to be free from
unreasonable searches and seizwes, all in violation   ofTitle   18, United States Code, Section


242.

                                          COUNT   TO
                           @eprivation of Rights Under Color of Law)

        30.     The Grand Jury adopts, realleges and incorporates paragraph 2, above, by

reference herein.

        31.     On or about October 13, 2}lg, in the State and District of Minnesota, the

defendant,

                                     TY RAYMOND JINDRA,

while acting under color of law, did willfully deprive A.C. of the right, secured and

protected by the Constitution and the laws        of the United      States,   to be free from
          CASE 0:20-cr-00251-DWF-ECW Doc. 1 Filed 11/04/20 Page 10 of 11
United States v.   T.V   Raymond Jindra



unreasonable searches and seizures, all in violation       ofTitle   18, United States Code, Section


242.

                                               couNT     11
                                 @eprivation of.Rights Under Color of Law)

         32.        The Grand Jury adopts, realleges and incorporates paragraph 2, above, by

reference herein.

         33. On or about October l3,z[lg,in the State and Distict of Minnesot4 the
defendant,

                            -             TY RAYMOI\D JINDRA,

while acting under'color of law, did willfully deprive C.G.B. of the right" secured and

protected by the Constitution and laws of the United States, to be free from unreasonable

searches and seizures, all in violation of       Title 18, United States Code, Section?A2.


                                      FORF'EITT]RB ALLEGATIONS

        Upon conviction of any of Counts l-6, Acquiring a Controlled Substance by

Deception, in violation of Title 21, United States Code, Section 843(a)(3), the defendant

                                          TY RAYMOIYD INDRA,

shall forfeit to the United States of America, pursuant to       2l United States Code, Sections

853(aX1) and (2), any properly constituting, or derived from, any proceeds obtained,

directly or indirectly, as the result of such violation(s); anA any property used, or intended

to be used, in any manner or part,lto commit, or to facilitate the commission of, such

violation(s).



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         CASE 0:20-cr-00251-DWF-ECW Doc. 1 Filed 11/04/20 Page 11 of 11
United States v. Ty Raymond Jindra



        Upon conviction of any of Counts 7-8, Extortion Under Color of Official Right, in

violation of Title 18, United States Code, Section 1951, the defendant,

                                     TY RAYMOND JINDRA,

shall forfeit to the United States of America, pursuant to Title 18, United States Code,

Section 981(aXlXC) and Title 28, United States Code, Section 2461(c), any property, real

or personal, which constitutes or is derived from proceeds traceable to those offenses.

        If   any of the above-described forfeitable property is unavailable for forfeiture, the

United States intends to seek the forfeiture of substitute propgrty as provided for in Title

21, United States Code, Section 853(p), and as incorporated by Title 28, United States

Code, Section 2a6l@).




                                         A TRUE BILL




UNITED STATES ATTORNEY                               FOREPERSON




                                                ll
